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                  IN   THE UNITED STATES   DISTRICT COURT
                       FOR   THE DISTRICT OF MINNESOTA

CLIFFORD EAToN,

           Plaintiff,                          case   No.   {3 .ult   06 |..ID/f,f            tL_/
     v.
                                                        COMPLAINT
VERIZON WIRELESS,
                                                 [.lury Trial-      Demanded]
           Defendant.

     coMES Nol,il   plaintif f , crif f ord   Eaton   r pro   s€   r and f or his
complaint against defendant, Verizon Wireless, states and alleges
as follows:
      L. This is a lawsuit seeking redress for violations of the
Fair credit Reporting Act ("FCRA"), 15 u.s.c. $ rogrr €t seq.
      2. The court has jurisdiction to entertain the case
pursuant to 15 U.S.C. S 1681p and 28 U.S.C. S f::f.
      3. Venue is proper because the defendant maintains a
physical presence and conducts business within the district.
      4. Plaintiff, clifford Eaton ("Eaton"), is a natural
person residing in otisville, New york. Eaton is attconsumertt as
defined in the FCRA.
      5. Defendant, Verizon wireless (ttVerizontt), is a national
telecommunications company that conducts business throughout the
United States and maintains a Financial Serviees office in
Minneapolis, Minnesota. Verizon is a ttfurnisher of information to
consumer reporting agenciestt as defined in the FCRA.
     6. On various dates in 2012, Eaton obtained copies of his
credit reports from Equifax, Experian, Trans Union, and Innovis,
all of which are ttconsumer reporting agenciestt as

                                                                      llAY I       0   2013


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FCRA.

               of the credit reports Eaton received contain a
                      Each
delinqu ent account with a balance of $1r358.00 reported by
                  I


Verizon
                  I




       8.' Eaton has never contracted for Verizon Wireless
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                  i
telepho-ne service or otherwise entered into any contractual
                  i

agreeme nt with the company.
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                  I
       g.l On April 25, 20t2, Eaton submitted a dispute concerning
   .l             I

the Ver lzon account to Equifax for investigat,ion.
                  I



           0n June 29, 20L2, Eaton submitted a dispute concerning
                  I



      10.1
                  i


the Ver izon account to Experian for investigation
            'I

      7t.1 0n July 3, 20L3, Eaton submitted a dispute concerning
the Ver izon abcount to Trans Union for investigation
                  i




    12. . On July 6, 20t2, Eaton submitted a dispute. concerning
the Ver izon account to Innovis for investigation.
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                  I


    13.,   Equifax, Experian, Trans Union, and Innovis informed
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                  I
                  l
Eaton that Verizon verified
                  T
                  I
                                 .the information it reported as
accurat e, and further, that it would remain in his credit
  .t
       .!
n]-s E,ory

            t4Eaton sent several letters directly to Verizon
disputi
    -l
            ng the debt and requesting documentation which would
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establi sh liability for same on his part.
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       15.r   Verizon informed Eaton that the debt was valid, with a
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balance due of $1,766.28, but did not provide any documentation
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es tabli shing liability.

       t6.    Verizon failed to conduct a meaningful investigation of
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Eaton I sl disputes and continues to furnish derogatory information
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to   consumer   reporting agencies for j-nclusion in       Eatonr   s credit
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his tory.
        I




     L7,. Verizon violated, 15 U. S. C. S tOAts-2(b) (f ) (A) , in that
it failed to conduct an investigation of Eatonrs disputes.
        i




     18. Verizon violated 15 U.S.C. S tegts-2(b)(f)(c), in that
it reported inaccurate, incomplete, fa1se, and misleading results
of anyl purported investigation. of Eatonrs disputes to consumer
reporting agencies.
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      t9. Verizon violated 15 U.S.c. S 10Ats-2(b)(1)(D), in that
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it   failed to. notify consumer reporting Agencies that the
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information it furnished for inclusion in Eatonrs credit history
is inaccurate,
       t'
                incomplete, false, and misleading.
     20. Verizonrs unlawful conduct was willful, in that it is
part ofi a policy, practice, and custom.
      2t. As a direct and proximate result of YexLzonts irnlawful
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        I'


conduct, Eaton has suffered dama-ges, including lowered credit
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score,'damage to credit reputation, and emotional distress.
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     I,0HEREFORE, Eaton respectfully moves for Judgment in his
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favor and against Verizon for the following: '
.       i                                ?   11




     A.i Actual damages in an amount to be determined, or
        i

statutciry
 "l        damages in the amount of $1r000.00, pursuant to 15
u.S.c. S 1681n(a)(f)(a) and/or 15 u.s.c. S logto(a)(1);
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        !


     B.l Punitive damages in an amount to be determined pursuant
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to 15 U.S.C.
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             S',15Sin(6)(Z);
                       ' \-"
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     Cl Costs and attorney I s fees incurred pursuant to 15
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u.s.c. lS 1681n(a)(s) andlor 15 u.s.c. S t0gto(a)(z); and
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     D.i Any further relief deemed just and proper by the Court.
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            dly
             /     day   of May, 2013.



                              Plaintiff, pro se
                              Regis ter NoJ?TTS-}7 4
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                              Otisville, NY 10963-1000




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